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                                                                                              Appendix A
                                     City of Driggs Wastewater Treatment Facility - NPDES Permit No ID0020141 (Permit)
                                                                      Driggs, Idaho
                      NPDES Permit Effluent Violations from Discharge Monitoring Reports (DMRS): July 1, 2017 to September 30, 2021



                                                          Value Reported in           Effluent
   Month                         Pollutant                                                                          Limit Type                                 Description of Violation            Violation Count
                                                                DMR                  Limitation
                      Summary: Part I.B, Table 1 of the Permit prohibits discharge from the facility in which the monthly average loading limit of BOD   5   in the effluent exceeds 225 lbs/day
  July 2018      BOD, 5-day, 20 deg. C                        281.44 lbs/day            225 lbs/day               Monthly Average                        Average Monthly Loading Exceedance              31
                           Summary: Part I.B of the Permit prohibits the Facility from discharges in which the monthly average concentration limit of BOD 5 in the effluent exceeds 45 mg/L
  April 2021     BOD, 5-day, 20 deg. C                           47.4 mg/L               45 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance             30
  May 2021       BOD, 5-day, 20 deg. C                         52.35 mg/L                45 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance             31
                            Summary: Part I.B, Table 1 of the Permit prohibits discharge from the facility in which the instantanous maximum of E.coli in the effluent exceeds 406/100 mL
February 2021    E. coli                                       436/100 mL             406/100 mL              Instantaneous Maximum                          Single Sample E.coli Exceedance              1
  March 2021     E. coli                                       629/100 mL             406/100 mL              Instantaneous Maximum                          Single Sample E.coli Exceedance              1
                           Summary: Part I.B, Table 1 of the Permit prohibits discharge from the facility in which the daily maximum loading of ammonia in the effluent exceeds 8.4 lbs/day
  July 2017      Nitrogen, ammonia total [as N]                  95.9 lbs/day            8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 August 2017     Nitrogen, ammonia total [as N]                84.03 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
September 2017   Nitrogen, ammonia total [as N]                28.43 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 October 2017    Nitrogen, ammonia total [as N]                  8.48 lbs/day            8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 January 2018    Nitrogen, ammonia total [as N]                49.04 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
February 2018    Nitrogen, ammonia total [as N]                55.76 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  March 2018     Nitrogen, ammonia total [as N]                62.27 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  April 2018     Nitrogen, ammonia total [as N]               111.69 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  May 2018       Nitrogen, ammonia total [as N]                96.27 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  June 2018      Nitrogen, ammonia total [as N]                15.99 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  July 2018      Nitrogen, ammonia total [as N]               101.17 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 January 2019    Nitrogen, ammonia total [as N]                59.72 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
February 2019    Nitrogen, ammonia total [as N]                43.57 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  March 2019     Nitrogen, ammonia total [as N]                66.93 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  April 2019     Nitrogen, ammonia total [as N]                10.21 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  May 2019       Nitrogen, ammonia total [as N]                54.64 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  July 2019      Nitrogen, ammonia total [as N]               107.07 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 August 2019     Nitrogen, ammonia total [as N]                45.82 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
September 2019   Nitrogen, ammonia total [as N]                80.79 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
December 2019    Nitrogen, ammonia total [as N]                11.69 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 January 2020    Nitrogen, ammonia total [as N]                65.62 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
February 2020    Nitrogen, ammonia total [as N]                  73.3 lbs/day            8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  March 2020     Nitrogen, ammonia total [as N]                92.22 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  April 2020     Nitrogen, ammonia total [as N]                89.27 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  May 2020       Nitrogen, ammonia total [as N]                81.07 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  June 2020      Nitrogen, ammonia total [as N]                62.91 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  July 2020      Nitrogen, ammonia total [as N]               126.78 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 August 2020     Nitrogen, ammonia total [as N]               145.21 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
September 2020   Nitrogen, ammonia total [as N]                120.6 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 October 2020    Nitrogen, ammonia total [as N]                  82.9 lbs/day            8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
November 2020    Nitrogen, ammonia total [as N]                68.16 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
December 2020    Nitrogen, ammonia total [as N]                94.38 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 January 2021    Nitrogen, ammonia total [as N]               150.66 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
February 2021    Nitrogen, ammonia total [as N]               159.69 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  March 2021     Nitrogen, ammonia total [as N]                149.9 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  April 2021     Nitrogen, ammonia total [as N]               124.83 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  May 2021       Nitrogen, ammonia total [as N]               123.85 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  June 2021      Nitrogen, ammonia total [as N]               127.89 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
  July 2021      Nitrogen, ammonia total [as N]               186.45 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
 August 2021     Nitrogen, ammonia total [as N]               254.88 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
September 2021   Nitrogen, ammonia total [as N]               254.88 lbs/day             8.4 lbs/day               Daily Maximum                         Maximum Daily Loading Exceedance                 1
                      Summary: Part I. B, Table 1 of the Permit prohibits discharge from the facility in which the maximum daily concentration of ammonia in the effluent exceeds 1.68 mg/L
  July 2017      Nitrogen, ammonia total [as N]                  11.5 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
 August 2017     Nitrogen, ammonia total [as N]                10.08 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
September 2017   Nitrogen, ammonia total [as N]                  3.41 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
 January 2018    Nitrogen, ammonia total [as N]                  5.88 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
February 2018    Nitrogen, ammonia total [as N]                  6.69 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  March 2018     Nitrogen, ammonia total [as N]                  7.47 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  April 2018     Nitrogen, ammonia total [as N]                13.39 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  May 2018       Nitrogen, ammonia total [as N]                11.54 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  June 2018      Nitrogen, ammonia total [as N]                  1.92 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  July 2018      Nitrogen, ammonia total [as N]                12.13 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
 January 2019    Nitrogen, ammonia total [as N]                  19.3 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
February 2019    Nitrogen, ammonia total [as N]                15.48 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  March 2019     Nitrogen, ammonia total [as N]                  21.4 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  April 2019     Nitrogen, ammonia total [as N]                   3.4 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  May 2019       Nitrogen, ammonia total [as N]                  12.6 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  July 2019      Nitrogen, ammonia total [as N]                  18.2 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
 August 2019     Nitrogen, ammonia total [as N]                11.64 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
September 2019   Nitrogen, ammonia total [as N]                22.58 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
December 2019    Nitrogen, ammonia total [as N]                  4.75 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
 January 2020    Nitrogen, ammonia total [as N]                22.04 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
February 2020    Nitrogen, ammonia total [as N]                27.51 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  March 2020     Nitrogen, ammonia total [as N]                27.37 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  April 2020     Nitrogen, ammonia total [as N]                  30.5 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  May 2020       Nitrogen, ammonia total [as N]                28.59 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  June 2020      Nitrogen, ammonia total [as N]                  8.98 mg/L             1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
  July 2020      Nitrogen, ammonia total [as N]                29.29 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
 August 2020     Nitrogen, ammonia total [as N]                37.85 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance               1
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September 2020   Nitrogen, ammonia total [as N]             33.63 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
 October 2020    Nitrogen, ammonia total [as N]             24.85 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
November 2020    Nitrogen, ammonia total [as N]             16.68 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
December 2020    Nitrogen, ammonia total [as N]             26.22 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
 January 2021    Nitrogen, ammonia total [as N]             39.27 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
February 2021    Nitrogen, ammonia total [as N]             44.53 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
  March 2021     Nitrogen, ammonia total [as N]               41.8 mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
  April 2021     Nitrogen, ammonia total [as N]                41. mg/L              1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
  May 2021       Nitrogen, ammonia total [as N]             41.52 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
  June 2021      Nitrogen, ammonia total [as N]             30.67 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
  July 2021      Nitrogen, ammonia total [as N]             42.34 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
 August 2021     Nitrogen, ammonia total [as N]             54.11 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
September 2021   Nitrogen, ammonia total [as N]             54.11 mg/L               1.68 mg/L                   Daily Maximum                     Maximum Daily Concentration Exceedance       1
                    Summary: Part I. B. Table 1 of the Permit prohibits discharge from the facility in which the monthly average loading limit of ammonia in the effluent exceeds 4.2 lbs/day
  July 2017      Nitrogen, ammonia total [as N]             89.56 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
 August 2017     Nitrogen, ammonia total [as N]             68.59 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
September 2017   Nitrogen, ammonia total [as N]             25.58 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
 October 2017    Nitrogen, ammonia total [as N]               8.48 lbs/day            4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
 January 2018    Nitrogen, ammonia total [as N]             41.25 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
February 2018    Nitrogen, ammonia total [as N]             47.94 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         28
  March 2018     Nitrogen, ammonia total [as N]             53.18 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
  April 2018     Nitrogen, ammonia total [as N]             73.42 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
  May 2018       Nitrogen, ammonia total [as N]             93.97 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
  June 2018      Nitrogen, ammonia total [as N]             15.34 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
  July 2018      Nitrogen, ammonia total [as N]             80.86 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
 January 2019    Nitrogen, ammonia total [as N]             42.07 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
February 2019    Nitrogen, ammonia total [as N]             37.02 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         28
  March 2019     Nitrogen, ammonia total [as N]             42.15 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
  April 2019     Nitrogen, ammonia total [as N]               7.38 lbs/day            4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
  May 2019       Nitrogen, ammonia total [as N]             29.02 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
  July 2019      Nitrogen, ammonia total [as N]            105.75 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
 August 2019     Nitrogen, ammonia total [as N]             28.06 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
September 2019   Nitrogen, ammonia total [as N]               67.3 lbs/day            4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
December 2019    Nitrogen, ammonia total [as N]             10.17 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
 January 2020    Nitrogen, ammonia total [as N]             65.36 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
February 2020    Nitrogen, ammonia total [as N]             73.01 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         29
  March 2020     Nitrogen, ammonia total [as N]             88.74 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
  April 2020     Nitrogen, ammonia total [as N]             84.19 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
  May 2020       Nitrogen, ammonia total [as N]             80.28 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
  June 2020      Nitrogen, ammonia total [as N]               59.8 lbs/day            4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
  July 2020      Nitrogen, ammonia total [as N]             99.78 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
 August 2020     Nitrogen, ammonia total [as N]            107.02 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
September 2020   Nitrogen, ammonia total [as N]            117.36 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
 October 2020    Nitrogen, ammonia total [as N]                82. lbs/day            4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
November 2020    Nitrogen, ammonia total [as N]             49.17 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
December 2020    Nitrogen, ammonia total [as N]             90.92 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
 January 2021    Nitrogen, ammonia total [as N]            149.31 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
February 2021    Nitrogen, ammonia total [as N]             142.1 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         28
  March 2021     Nitrogen, ammonia total [as N]             148.2 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
  April 2021     Nitrogen, ammonia total [as N]            115.42 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
  May 2021       Nitrogen, ammonia total [as N]            122.52 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
  June 2021      Nitrogen, ammonia total [as N]            108.45 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
  July 2021      Nitrogen, ammonia total [as N]            183.35 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
 August 2021     Nitrogen, ammonia total [as N]            200.15 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         31
September 2021   Nitrogen, ammonia total [as N]            200.15 lbs/day             4.2 lbs/day               Monthly Average                      Average Monthly Loading Exceedance         30
                    Summary: Part I.B. Table 1 of the Permit prohibits discharge from the facility in which the monthly average concentration of ammonia in the effluent exceeds 0.84 mg/L
  July 2017      Nitrogen, ammonia total [as N]             10.74 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
 August 2017     Nitrogen, ammonia total [as N]               8.22 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
September 2017   Nitrogen, ammonia total [as N]               3.07 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      30
 October 2017    Nitrogen, ammonia total [as N]               1.02 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
 January 2018    Nitrogen, ammonia total [as N]               4.95 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
February 2018    Nitrogen, ammonia total [as N]               5.75 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      28
  March 2018     Nitrogen, ammonia total [as N]               6.38 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
  April 2018     Nitrogen, ammonia total [as N]                8.8 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      30
  May 2018       Nitrogen, ammonia total [as N]             11.27 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
  June 2018      Nitrogen, ammonia total [as N]               1.84 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      30
  July 2018      Nitrogen, ammonia total [as N]                9.7 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
 January 2019    Nitrogen, ammonia total [as N]               5.04 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
February 2019    Nitrogen, ammonia total [as N]               4.46 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      28
  March 2019     Nitrogen, ammonia total [as N]               4.65 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
  April 2019     Nitrogen, ammonia total [as N]                .92 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      30
  May 2019       Nitrogen, ammonia total [as N]                2.9 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
  July 2019      Nitrogen, ammonia total [as N]             12.99 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
 August 2019     Nitrogen, ammonia total [as N]               3.32 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
September 2019   Nitrogen, ammonia total [as N]               8.03 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      30
December 2019    Nitrogen, ammonia total [as N]               1.22 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
 January 2020    Nitrogen, ammonia total [as N]               7.84 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
February 2020    Nitrogen, ammonia total [as N]               8.76 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      29
  March 2020     Nitrogen, ammonia total [as N]             10.64 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
  April 2020     Nitrogen, ammonia total [as N]             10.11 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      30
  May 2020       Nitrogen, ammonia total [as N]               9.63 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
  June 2020      Nitrogen, ammonia total [as N]               7.17 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      30
  July 2020      Nitrogen, ammonia total [as N]             11.93 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
 August 2020     Nitrogen, ammonia total [as N]             12.78 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
September 2020   Nitrogen, ammonia total [as N]             14.07 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      30
 October 2020    Nitrogen, ammonia total [as N]               9.83 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
November 2020    Nitrogen, ammonia total [as N]               5.71 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      30
December 2020    Nitrogen, ammonia total [as N]             10.93 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
 January 2021    Nitrogen, ammonia total [as N]               17.9 mg/L              0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      31
February 2021    Nitrogen, ammonia total [as N]             17.39 mg/L               0.84 mg/L                  Monthly Average                   Average Monthly Concentration Exceedance      28
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  March 2021     Nitrogen, ammonia total [as N]              17.77 mg/L               0.84 mg/L                  Monthly Average                    Average Monthly Concentration Exceedance    31
  April 2021     Nitrogen, ammonia total [as N]              13.92 mg/L               0.84 mg/L                  Monthly Average                    Average Monthly Concentration Exceedance    30
  May 2021       Nitrogen, ammonia total [as N]              14.71 mg/L               0.84 mg/L                  Monthly Average                    Average Monthly Concentration Exceedance    31
  June 2021      Nitrogen, ammonia total [as N]              13.29 mg/L               0.84 mg/L                  Monthly Average                    Average Monthly Concentration Exceedance    30
  July 2021      Nitrogen, ammonia total [as N]              21.98 mg/L               0.84 mg/L                  Monthly Average                    Average Monthly Concentration Exceedance    31
 August 2021     Nitrogen, ammonia total [as N]              45.12 mg/L               0.84 mg/L                  Monthly Average                    Average Monthly Concentration Exceedance    31
September 2021   Nitrogen, ammonia total [as N]              45.12 mg/L               0.84 mg/L                  Monthly Average                    Average Monthly Concentration Exceedance    30
                           Summary: Part I. B. Table 1 of the Permit prohibits discharge from the facility in which the instantanous minimum of pH in the effluent is lower than 6.5 s.u.
 August 2021     pH                                            6.48 SU                 6.5 SU                 Instantaneous Minimum                     Instantaneous Minimum Exceedance        1
                                                                                                                                                               Violations Total                2672
